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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY




 XIN YUE on behalf of himself and as                   Civil Action No. 20-5099 (JMV)
 assignee of YISHENG LI,

                            Plaintiff,

 v.

                                                                 ORDER
 STEWART LOR,


                            Defendant.




       THIS MATTER having come before the Court upon Plaintiff’s motion for leave
to amend the Complaint (CM/ECF No. 21); and the Court having considered the papers
in support of and in opposition to the motion; and for the reasons set forth in the Opinion
which accompanies this Order; and for good cause shown;

        IT IS on this 29th day of April 2021,

      ORDERED that, Plaintiff’s motion for leave to amend the Complaint (CM/ECF
No. 21) is granted; and it is further

        ORDERED that, Plaintiff shall file his amended pleading no later than May 7,
2021.


                                                 s/Mark Falk
                                                 MARKFALK
                                                 United States Magistrate Judge
